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                                  THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEW JERSEY

         -------------------------------------------------x
         Channel Method Partners, LLC, a                                    Civil Action
         New Jersey limited liability company,                      No#3:14-CV-05358 FLW-LHG

                                   Plaintiff,

                             v.

         Pharmatech, Inc., a Colorado
         Corporation,                                          Notice of Voluntary Dismissal
                            Defendant.                                of Complaint

         --------------------------------------------------X
         To:      Clerk of the District Court (Civil)
                  District of New Jersey
                  402 E. State Street
                  Trenton, N.J. 08608

                 Jones & Keller, P.C.
                 1999Broadway, Suite 3150
                 Denver, Co. 80202
                 Attn: Maritza Dominquez Braswell, Esq.

         PLEASE TAKE NOTICE that Plaintiff, Channel Methods Partners, LLC being

         hereby voluntarily withdraws the complaint filed in above entitled action, without

         prejudice, pursuant to Rule 41(a).

         Date: September 25, 2014

                                                                                                  r


                                                                S   n G e rin, Esq.
                                                                    Attorney No.#033161985
                                                                160 White Road - Suite 204
                                                                Little Silver, New Jersey 07739
                                                                Ph .No.# 732 219-1919
                                                                Telefax No.# 732 530-5147
                                                                Deverin75@aol.com

                                                                Attorney for Plaintiff,
                                                                Channel Methods Partners, LLC
Case No. 1:14-cv-02830-RM-CBS Document 1-14 filed 10/17/14 USDC Colorado pg 2 of 3
   Case 3:14-cv-05358-FLW-LHG Document 4 Filed 09/26/14 Page 2 of 3 PageID: 109



                                 THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEW JERSEY

        -------------------------------------------------x
         Channel Method Partners, LLC, a                                Civil Action
         New Jersey limited liability company,                  No#3:14-CV-05358 FLW-LHG

                                  Plaintiff,

                            v.

         Pharmatech, Inc., a Colorado
         Corporation,
                            Defendant.

        --------------------------------------------------X
                                       CERTIFICATE OF SERVICE

        I, hereby certify that on September 25, 2014, a true copy of the Notice of Voluntary
        Dismissal was served via overnight courier delivery to:

                 Jones & Keller, P.C.
                 1999Broadway, Suite 3150
                 Denver, Co. 80202
                 Attn: Maritza Dominquez Braswell, Esq.


        Date: September 25, 2014




                                                              Little Silver, New Jersey 07739
                                                              Ph .No.# 732 219-1919
                                                              Telefax No.# 732 530-5147
                                                              Deverin75@aol.com

                                                              Attorney for Plaintiff,
                                                              Channel Methods Partners, LLC
Case No. 1:14-cv-02830-RM-CBS Document 1-14 filed 10/17/14 USDC Colorado pg 3 of 3
   Case 3:14-cv-05358-FLW-LHG Document 4 Filed 09/26/14 Page 3 of 3 PageID: 110




                                  THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEW JERSEY

        -------------------------------------------------}(
         Channel Method Partners, LLC, a                              Civil Action
         New Jersey limited liability company,                No#3:14-CV-05358 FLW-LHG

                                   Plaintiff,

                             v.

         Pharmatech, Inc., a Colorado
         Corporation,
                            Defendant.                                ORDER

        --------------------------------------------------}(
        THIS MATTER, having been brought before this court upon the filing of a Notice of

        Voluntary Dismissal by Plaintiff, Channel Methods Partners, LLC, in accordance

        with the provisions of Rule 4l(a) of the Rules of Federal Civil Procedure and in

        filing being in compliance with Rule 41(a), and for good cause having been shown;


        It is on this _ _ _ day of September, 2014;

        ORDERED, that the Complaint filed in the above entitled action is hereby

        voluntarily dismissed by Plaintiff, Channel Methods partners, LLC, without prejudice

        and without costs being awarded to any party.



                                                     Hon. Freda L. Wolfson,    U.S.D.C.J.
